AO 440 (Rev. 05/00) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE

DR. WILLIAM P. GRESS,
on behalf of plaintiff and

the class members defined herein CASE NUMBER: 19-cv-5623

Vv. ASSIGNED JUDGE:
Hon. Rebecca R. Pallmeyer

ADVANTAGE BUSINESS CAPITAL, INC., DESIGNATED
an a MAGISTRATE JUDGE: Hon. Sheila Finnegan

TO: (Name and address of Defendant)

ADVANTAGE BUSINESS CAPITAL, INC.

c/o WAYNE COOKER, REGISTERED AGENT
4605 POST OAK PLACE DRIVE #105
HOUSTON, TEXAS 77027

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Edelman, Combs, Latturner & Goodwin, LLC
20 S. Clark Street, Suite 1500
Chicago, IL 60603

Ly al 5 :
an answer to the complaint which is herewith served upon you, days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

A, G. BRUTON, CLERK
: fy

August 21, 2019

 

 

(By) DEPUTY CLERK DATE

 
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RETURN OF SERVICE

 

 

 

WJ

 

 

DATE /
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Check one box below to itdicate appropriate method of service
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YY’ Served personally upon the defendant. Place where served: 4-(o o& ost” OAX [ac € DA :

 

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O Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

 

O Returned-unexecuted>

 

 

 

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STATEMENT OF SERVICE FEES

 

TRAVEL SERVICES TOTAL

 

 

 

DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

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Executed on €. 2 B20! G i th é.$Z> _Fs

Date Sipuature of Server ——

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Address of Server

 

 

 

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
